Exhibit: Bess ECF No. 37-22, PagelD.1624 Filed 10/07/24 Page 1 of 2

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ichigan Debt Collection Data Dashboard

to the JFAC Michigan Debt Collection Data Dashboard. Start by making some selections.

Select type of geography Select year(s)

District court ’

Case filings Dispositions Representation © Methodology

*Note: Cases dismissed for non-service are included in the charts below.

Case dispositions for Michigan (2010-2021) - Bank/Credit Card cases

Disrmissed With Projych

© % of disposed cases: 217

Dismissed Wah Preudice

Dispositions by plaintiff type

© Default Judgment @ Dismissed With Prejudice @ Dismissed Without Prejudice

Dismissed/Withdrawal (Other)

All or by plaintiff type?

Bank/Credit Card

Non-Default Judgment @ Stipulation

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